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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                      )        Chapter 11
                                            )
B GSE GROUP, LLC,                           )        Case No. 23-30013
                                            )
                             Debtor.        )

                                NOTICE OF SERVICE OF SUBPOENAS

         PLEASE TAKE NOTICE that B GSE Group, LLC is serving subpoenas duces tecum

upon JWL, LLC and DSHoldings, Inc. Copies of the referenced subpoenas are attached hereto as

Exhibit 1.

Dated: Charlotte, North Carolina
       April 3, 2023

                                          MOON WRIGHT & HOUSTON, PLLC

                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          212 North McDowell Street, Suite 200
                                          Charlotte, North Carolina 28204
                                          Telephone: (704) 944-6560
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                                          Counsel for the Debtor




MWH: 10782.001; 00028373.1
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                                       CERTIFICATE OF SERVICE

         I hereby certify that the foregoing NOTICE OF SERVICE OF SUBPOENAS was served

by electronic notification on those parties registered with the United States Bankruptcy Court,

Western District of North Carolina ECF system to receive notices for this case on the date shown

below.

Dated: Charlotte, North Carolina
       April 3, 2023

                                          MOON WRIGHT & HOUSTON, PLLC

                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          212 North McDowell Street, Suite 200
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                                          Counsel for the Debtor




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